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   11
   12                     UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14
   15   EVA SOLIS, individually and on     Case No. 2:19–cv–10181–PSG–AFM
        behalf of all others similarly
   16   situated,                          DEFENDANT AMERICAN AIRLINES,
   17                    Plaintiff,        INC.’S REPLY IN SUPPORT OF
                                           MOTION FOR JUDGMENT ON THE
   18        v.                            PLEADINGS
   19   AMERICAN AIRLINES, INC., and       Judge: Hon. Philip S. Gutierrez
        DOES 1–100, inclusive,
   20                                      Hearing Date: July 30, 2021
                         Defendants.       Time: 1:30 PM
   21                                      Courtroom: 6A
                                           Complaint Served: January 29, 2020
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                                                     REPLY ISO MTN FOR JUDGMENT ON THE
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    1               REPLY IN SUPPORT OF MOTION FOR JUDGMENT
    2                                  ON THE PLEADINGS
    3   I.    INTRODUCTION
    4         Plaintiff Eva Solis’s (“Solis”) operative First Amended Complaint (“FAC”)
    5   contains deficient legal theories alleging that American Airlines, Inc. (“American”)
    6   failed to record the start and end times of her meal periods and failed to pay
    7   overtime wages pursuant to California and federal law. Solis’s opposition does
    8   nothing to salvage her claims and American’s motion should be granted.
    9         First, the Court should summarily reject Solis’s argument that American’s
   10   motion is procedurally improper. Solis has combined numerous claims and legal
   11   theories into her causes of action. In circumstances identical to these, courts in this
   12   Circuit routinely grant judgment on the pleadings as to “part” of a cause of action.
   13   Solis may not merge numerous claims and theories into her causes of action in
   14   order to avoid dismissal of those that are legally deficient.
   15         Second, American is not required to record the start and end times of
   16   employee meal periods. As detailed below, Solis’s reliance on Donohue v. AMN
   17   Serv., LLC, 11 Cal. 5th 58 (2021) is entirely misplaced. Despite extensively
   18   analyzing employer meal period recording requirements, the California Supreme
   19   Court did not hold that an employer must record the start and end times of meal
   20   periods—and it had ample opportunity to do so. No case or statute imposes the
   21   requirements posited by Solis, and her argument to the contrary necessarily fails.
   22         Third, Solis is not entitled to overtime compensation under California law
   23   beginning on December 1, 2015, when her employment became governed by a
   24   collective bargaining agreement (“CBA”) entered into pursuant to the Railway
   25   Labor Act, 45 U.S.C. § 151 et seq. (“RLA”). Solis badly mischaracterizes the
   26   California Supreme Court decision in Ward v. United Airlines, Inc., 9 Cal. 5th 732
   27   (2020), which, along with the Ninth Circuit decision in Angeles v. US Airways, Inc.,
   28   790 Fed. Appx. 878, 880 (9th Cir. 2020), unequivocally supports American’s
                                                            REPLY ISO MTN FOR JUDGMENT ON THE
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    1   argument. Solis cites no governing authority for her faulty argument regarding
    2   overtime and it should be rejected.
    3         Finally, Solis concedes that she is not entitled to overtime compensation
    4   under the federal Fair Labor Standards Act (“FLSA”), but argues that her claim
    5   should survive American’s motion because she combined it with a minimum wage
    6   claim under the FLSA. This Court should reject Solis’s attempt to plead around
    7   dismissal. The FLSA’s overtime provisions do “not apply with respect to . . . any
    8   employee of a carrier by air subject to the provisions of Title II of the Railway
    9   Labor Act.” 29 U.S.C. § 213(b)(3). Because Solis is an employee of an air carrier,
   10   American is entitled to judgment on Solis’s claim for overtime compensation under
   11   the FLSA, regardless of whether she combined it with another claim.
   12   II.   ARGUMENT
   13         A.     American’s Motion Is Procedurally Proper.
   14         “Judgment on the pleadings may be granted as to fewer than all of the claims,
   15   or as to part of a claim.” Cosentino v. Kurtz, No. CV 11-03206 GAF (SSx), 2012
   16   WL 12883842, at *7 (C.D. Cal., Dec. 11, 2012) (quoting FEC v. Adams, 558 F.
   17   Supp. 2d 982, 987 (C.D. Cal. 2008)). In drafting the FAC, Solis combined separate
   18   legal claims and distinct legal theories into her individual causes of action, and now
   19   argues that American may not move for judgment on the pleadings as to “part” of
   20   her claims. (Opp. at 2-3.) Solis is wrong; she may not combine her claims to avoid
   21   dismissal at the pleading stage. Indeed, “[c]ourts of the Ninth Circuit . . . regularly
   22   permit judgment on the pleading in such circumstances.” In re Outlaw Lab’y, LLP,
   23   No. 3:18-CV-0840-GPC, 2020 WL 3840559, at *4 (S.D. Cal., July 8, 2020) (citing
   24   Pantastico v. Dep’t of Educ., 406 F. Supp. 3d 865, 880 (D. Haw. 2019) (granting
   25   motion for judgment on the pleadings with respect to plaintiff’s § 1983 claim as to
   26   a Due Process theory, but denying the motion under an Equal Protection theory);
   27   Am. Traffic Sols., Inc. v. Redflex Traffic Sys., Inc., No. CV-08-2051-PHX, 2009
   28   WL 2714017, at *2 (D. Ariz. Aug. 27, 2009) (plaintiff’s complaint contains
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    1   “several claims for false advertising based on separate statements by defendants”
    2   and “[a]ccordingly, we will consider defendants’ motion for judgment on the
    3   pleadings as to certain of these representations.”); Holloway v. Best Buy Co., No. C-
    4   05-5056-PJH, 2009 WL 1533668, at *4 (N.D. Cal. May 28, 2009)).
    5         Holloway v. Best Buy Co., Inc., is instructive. 2009 WL 1533668, at *2. In
    6   Holloway, plaintiffs filed a complaint asserting five claims, including race
    7   discrimination in violation of Title VII, gender discrimination in violation of Title
    8   VII, race discrimination in violation of the California Fair Employment and
    9   Housing Act (“FEHA”), gender discrimination in violation of the FEHA, and
   10   violations of 42 U.S.C. § 1981. Id. at *1. Best Buy filed a motion for “partial
   11   judgment on the pleadings pursuant to Federal Rule of Civil Procedure Rule 12(c),”
   12   seeking judgment on plaintiffs’ claims to the extent they were based on
   13   “discriminatory job assignments upon hiring.” Id. at *2.
   14         Like Solis does here, the plaintiffs in Holloway argued that “Best Buy’s
   15   motion [wa]s improper because, even if granted, it would not dispose entirely of
   16   any cause of action pled by plaintiffs.” Id. at *3. The district court started its
   17   analysis by noting that the “United States Supreme Court, while not ruling on the
   18   issue, did give tacit approval to a motion for partial judgment on the pleadings in a
   19   § 1983 case when it did not take issue with a partial judgment on the pleadings
   20   motion granted by a lower court.” Id. at *4 (citing City of Los Angeles v. Lyons,
   21   461 U.S. 95, 98–99 (1983)). The district court further explained that, “[i]n this
   22   judicial district, district judges routinely issue orders granting in part and denying in
   23   part motions for judgment on the pleadings.” Id. (citing e.g., Nahas v. City of
   24   Mountain View, 2005 WL 1683617 (N.D. Cal., July 19, 2005); Carmen v. San
   25   Francisco Unified Sch. Dist., 982 F. Supp. 1396 (N.D. Cal. 1997)). The court
   26   continued:
   27             A motion for judgment on the pleadings is designed to dispose
                  of cases where the material facts are not in dispute and a
   28             judgment on the merits can be rendered by looking to the
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    1             substance of the pleadings and any judicially-noticed facts.
    2   Id. (citing 5C Wright & Miller, Federal Practice and Procedure Civil 3d § 1367 at
    3   206–07 & nn. 4–5 (2004) (citing cases)). Based on the purpose of motions for
    4   judgment on the pleadings, and “given that each cause of action in the [complaint]
    5   alleges what could be construed as several separate claims, the court [found] no
    6   reason not to consider Best Buy’s motion for judgment on the pleadings as to less
    7   than entire causes of action.” Id.; see also Dreamstime.com, LLC v. Google, LLC,
    8   No. C 18-01910 WHA, 2019 WL 2372280, at *4 (N.D. Cal., June 5, 2019)
    9   (granting partial motion for judgment on the pleadings “given that the claims under
   10   the Google Play Agreement can be construed as separate claims from those under
   11   the AdWords Agreement”); Palzer v. Cox Oklahoma Telcom, LLC, No. 15-CV-
   12   00564-GKF-JFJ, 2018 WL 3240961, at *2 (N.D. Okla., July 3, 2018) (Plaintiff’s
   13   “first, second, and third counts could easily be construed as several separate claims.
   14   Thus, the court sees no reason not to consider Cox’s motion for partial judgment on
   15   the pleadings.”)).
   16         Here, American seeks judgment on the pleadings as to distinct causes of
   17   action and distinct theories of liability in the FAC, just like the defendant in
   18   Holloway. Specifically, American has moved for judgment on Solis’s entire Fifth
   19   Cause of Action for Failure to Maintain Proper Records, which is based exclusively
   20   on American’s alleged failure to record the start and end times of meal periods
   21   (Mot. at 4-5; FAC ¶¶ 72-75 (“Defendant has violated California Labor Code section
   22   1174 and IWC Wage Order No. 9 by willfully failing to keep required payroll
   23   records showing the start-time and end time of meal periods provided to Plaintiff
   24   and Class Members.”)). American has similarly moved for judgment on the
   25   pleadings as to Solis’s FLSA claim for overtime, which is combined in her Ninth
   26   Cause of Action for “Failure to Pay Overtime and/or Minimum Wage
   27   Compensation.” (Mot. at 11; FAC ¶¶ 91-95.).
   28         American has also moved for judgment on Solis’s Labor Code section 510
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    1   claim for overtime compensation, as to the time during which Solis’s employment
    2   was covered by a CBA. (Mot. at 5-11.) Given the limited time Solis may pursue
    3   her section 510 claim if American’s motion is granted (i.e., two-days), the extensive
    4   statutory period otherwise at issue for her claim (i.e., six-years and counting), the
    5   size of the putative class (i.e., more than 4,000 employees), and the associated
    6   burden of discovery in this matter, it will serve the interests of the parties, promote
    7   efficiency, and further the purpose of motions for judgment on the pleadings if this
    8   Court rules upon this discrete legal issue at this juncture. Holloway, 2009 WL
    9   1533668, at *4.
   10         On the other hand, if this Court declines to rule upon the substance of
   11   American’s argument as to Solis’s section 510 claim, discovery could encompass
   12   nearly six-years of documents and testimony for more than 4,000 employees related
   13   to an overtime claim that is barred as a matter of law for the vast majority of the
   14   putative class, and for the overwhelming majority of the relevant time period. In
   15   similar circumstances, courts both within and outside of this Circuit have dismissed
   16   “part of” a cause of action. Baird v. Becerra, No. 2:19-cv-00617-KJM-AC, 2020
   17   WL 5107614, at *9 (E.D. Cal. Aug. 31, 2020) (a “court may dismiss [a] portion of
   18   [a] claim, while allowing [the] remainder to proceed.”); Hill v. Opus Corp., 841 F.
   19   Supp. 2d 1070, 1082 (C.D. Cal. 2011) (dismissing claims “to the extent” they rely
   20   on a particular legal theory); Wright v. Wells Fargo Bank, NA, No. 11-00212 SOM-
   21   RLP, 2012 WL 2973202, at *9 (D. Hawaii, July 19, 2012) (granting judgment on
   22   the pleadings “on the portion of Count I based on the assignment”); Farrow v. King
   23   & Prince Seafood Corp., No. 2:17-CV-150, 2018 WL 6206122, at *6 (S.D. Ga.,
   24   Nov. 28, 2018) (granting partial motion for judgment on the pleadings as to a
   25   particular time period). Given the scope of the putative class and the potential
   26   burden of discovery, American requests that this Court do the same.
   27
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                                                            REPLY ISO MTN FOR JUDGMENT ON THE
                                                   9           PLEADINGS; 2:19-CV-10181-PSG-AFM
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    1         B.     California Law Does Not Require Employers To Record The Start
                     And End Times Of Meal Periods.
    2
    3         As the sole basis for her Fifth Cause of Action for Failure to Maintain Proper
    4   Records, Solis asserts that American “violated the California Labor Code section
    5   1174 and Wage Order No. 9 by willfully failing to keep required payroll records
    6   showing the start-time and end time of meal periods.” (FAC ¶ 73.) As set forth in
    7   American’s motion, California law does not “require[] employers to record the
    8   actual times that employees begin and end each meal period.” Lopez v. G.A.T.
    9   Airline Ground Support, Inc., No. 09-CV-2268-IEG (BGS), 2010 WL 2839417, at
   10   *3 (S.D. Cal. July 19, 2010); Schroeder v. Envoy Air, Inc., No. CV 16-04911-
   11   MWF-KS, 2016 WL 11520388, at *13 (C.D. Cal. Sept. 27, 2016) (granting motion
   12   to dismiss and finding that plaintiffs failed to show that “section 1174 and IWC
   13   Wage Order 9 require employers to keep payroll records that include the start and
   14   end times of meal periods”).
   15         Solis attempts to minimize the holdings in Lopez and Schroeder, which are
   16   directly on point, by arguing that they “were decided prior to the recent California
   17   Supreme Court opinion in Donohue . . . , in which the court considered whether
   18   time records showing noncompliant meal periods raise a rebuttable presumption of
   19   meal period violations at summary judgment.” (Opp. at 4.) Donohue, however, is
   20   entirely irrelevant to Solis’s allegations and to American’s motion for judgment on
   21   the pleadings.
   22         Donohue involved an employer’s timekeeping system that rounded employee
   23   meal periods to the nearest 10-minute increment, such that short meal periods were,
   24   at times, rounded up to a full 30-minutes. Donohue, 11 Cal. 5th at 62. As a result
   25   of the rounding system, employees were not provided with one-hour meal period
   26   premiums for all noncompliant meal periods. Id. The Donohue court held that, if
   27   an employee’s unrounded time-punch records show a meal period of less than 30
   28   minutes, it raises a rebuttable presumption at the summary judgment stage that the
                                                           REPLY ISO MTN FOR JUDGMENT ON THE
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    1   employee is entitled to a premium for that meal period. Id. at 74.
    2         Critically, however, whether American provided meal period premiums for
    3   noncompliant meal periods is not at issue in Solis’s Fifth Cause of Action. The
    4   only issue raised in this claim is whether American is required under California law
    5   to record “the start-time and end time of meal periods.” (FAC ¶ 73.) Notably,
    6   Solis does not allege that American failed to maintain records of employee meal
    7   periods generally. To the contrary, Solis specifically asserts that American “kept
    8   track of those instances during which its employees either missed a meal period
    9   or were not provided an adequate meal period so that it could reverse the
   10   automatic meal-period deduction taken by its payroll system.” (FAC ¶ 15.) That
   11   is all that is required by California law. See Cal. IWC Wage Order 9-2001
   12   § 7(A)(3) (stating that “Meal periods . . . shall also be recorded.”) Solis’s assertion
   13   that American must also record the specific start and end times of meal periods is
   14   unsupported by case law or statute and should be rejected.
   15         Moreover, contrary to what Solis argues in her opposition, and despite the
   16   California Supreme Court’s extensive discussion of meal period recording
   17   requirements in Donohue, the Court did not hold anywhere in its opinion that
   18   employers are required to record the start and end time of meal periods. Instead, as
   19   stated in Donohue, California law only “requires employers to give employees a
   20   mechanism for recording their meal periods and to ensure that employees use the
   21   mechanism properly.” Donohue, 11 Cal. 5th at 76.
   22         Finally, Solis asserts that, because American does not record the start and end
   23   time of meal periods, there is “no way for any employee to ‘determine from the
   24   wage statement alone’ what the total hours worked might be.” (Opp. at 8 (citing
   25   Cal. Lab. Code § 226(e)(2)(B)). This argument is a red herring. California Labor
   26   Code section 226 does not require that employers list any information related to
   27   meal periods, other than a premium wage paid for a noncompliant meal period.
   28   Cal. Lab. Code § 226. Accordingly, even if an employer did record the start and
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    1   end times of meal periods, that would not be evident “from the wage statement
    2   alone.” (Opp. at 8.)
    3         In sum, there is no requirement in case law or statute that American maintain
    4   records of the specific start and end times of employee meal periods. Accordingly,
    5   American requests that this Court grant judgement on the pleadings for American
    6   as to Solis’s Fifth Cause of Action and any associated claims for injunctive relief
    7   “requiring Defendant to keep track of the beginning and end times for all meal
    8   breaks.” (FAC ¶¶ 59, 64, 75.)
    9         C.     Solis Is Not Entitled To Overtime Under Section 510 Of The
                     California Labor Code Or Wage Order 9 After December 1, 2015.
   10
   11         Solis does not dispute that her employment became governed by a CBA
   12   entered into pursuant to the RLA on December 1, 2015, nor does she dispute that
   13   the exemption in section (1)(E) of Wage Order 9 applies to her beginning on the
   14   same date. (See generally Opp.) Solis does, however, attempt to argue that the
   15   exemption in section (1)(E) of Wage Order 9 does not apply to her overtime claim
   16   under Labor Code section 510. Solis is wrong.
   17                1.    Solis’s Interpretation Of Labor Code Section 515(b) Fails.
   18         Labor Code section 515(b) states: “Except as otherwise provided in this
   19   division, the commission may review, retain, or eliminate an exemption from
   20   provisions regulating hours of work that was contained in a valid wage order in
   21   effect in 1997.” Cal. Lab. Code § 515(b) (emphasis added). In the face of this
   22   unambiguous language, Solis attempts to argue that a wage order exemption is only
   23   covered by section 515(b) if the exemption itself is contained in a wage order
   24   section entitled “Hours and Days of Work.” (Opp. at 11.) Nothing in the language
   25   of Section 515(b) or case law supports Solis’s novel proposition.
   26         In Collins, the court addressed whether the motor carrier exemption in
   27   section (3)(L) of Wage Order 9 was covered by California Labor Code section
   28   515(b), such that the exemption would preclude a claim for overtime under Labor
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    1   Code section 510. Collins v. Overnite Transp. Co., 105 Cal. App. 4th 171, 180
    2   (2003), as modified (Feb. 3, 2003). As the court explained:
    3              We read the second sentence in section 515 subdivision (b)(2)
                   as expressing a legislative intent to leave undisturbed the
    4              exemptions from “provisions regulating hours of work . . .
                   contained in any valid wage order in effect in 1997.” The
    5              motor carrier exemption was one of the exemptions found in a
                   valid 1997 wage order. Accordingly, the IWC had power to
    6              retain it and it has in fact done so.
    7   Id. at 180 (emphasis added). As set forth in American’s motion, that is precisely
    8   the case with the exemption set forth in Section (1)(E) of Wage Order 9. (Mot. at
    9   10.) Like the exemption at issue in Collins, the exemption in section (1)(E) “was
   10   one of the exemptions found in a valid 1997 wage order.” Collins, 105 Cal. App.
   11   4th at 180. “Accordingly, the IWC had power to retain it and it has in fact done
   12   so.” Id.
   13         Solis asks this Court ignore the plain language of Section 515(b), and to
   14   rewrite it as only permitting the IWC to retain “exemptions contained in provisions
   15   regulating hours of work.” (Opp. at 11.) In other words, only exemptions
   16   contained in section 3 of Wage Order 9 could be retained by the IWC, because
   17   other exemptions are not contained in the section entitled “Hours and Days of
   18   Work.” (Opp. at 11.) But that is not what Section 515(b) says. The statute on its
   19   face permits the commission to retain exemptions “from provisions regulating hours
   20   of work”—not exemptions “contained in” provisions regulating hours of work.
   21   Cal. Labor Code § 515(b) (emphasis added). Because section (1)(E) exempts
   22   employees covered by a CBA entered into pursuant to the RLA from the provisions
   23   of Wage Order 9 regulating hours of work, it is expressly covered by Labor Code
   24   515(b).
   25                 2.    Solis’s Mischaracterization Of Ward Must Be Disregarded.
   26         In addition to asking this Court to rewrite Section 515(b), Solis also asks this
   27   Court to accept her flagrant mischaracterization of Ward. Indeed, Solis goes so far
   28   as to plainly misstate the holding in Ward, asserting that “the Supreme Court found
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    1   that the exemption in Wage Order 9(1)(E) applied only to the Wage Order and not
    2   to the overtime requirements of the Labor Code.” (Opp. at 13.) The Supreme
    3   Court held no such thing.
    4         In Ward, the plaintiffs were pilots and flight attendants who “alleged that
    5   United’s wage statements fail to provide them all the information required by Labor
    6   Code section 226, in the format required by that provision.” Ward, 9 Cal. 5th at
    7   741. The Ninth Circuit asked the California Supreme Court to determine whether
    8   an “airline is required to provide plaintiffs with wage statements that meet the
    9   various requirements of California law.” Id. at 740. United argued that, based on
   10   the court’s reasoning in Collins, the RLA exemption in Wage Order 9 (1)(E) should
   11   also exempt United from the wage statement requirement in Labor Code section
   12   226. Id. The Ward Court carefully analyzed the reasoning in Collins, and
   13   determined that its holding related to Labor Code section 510 was not applicable to
   14   Labor Code section 226 because “the history of the overtime regulation in
   15   California is essentially the reverse of the history of wage statement regulation.”
   16   Id. at 747–48. As the Ward court explained:
   17            The IWC has long had overtime rules in place pursuant to its
                 delegated authority to regulate hours, pay, and working
   18            conditions . . . while the Legislature is a relatively recent entrant
                 to the field. That entry came in response to the 1998 IWC wage
   19            orders that weakened overtime protections; in 1999, to reverse
                 these changes, the Legislature codified certain minimum
   20            protections ([Cal.] Lab. Code § 510, as amended . . .), on which
                 the plaintiff truck drivers in Collins relied. But the Legislature
   21            also expressly ratified most existing exemptions to overtime
                 protections already contained in any wage orders, including the
   22            motor carrier exemption, in newly enacted Labor Code section
                 515 . . . . Because the new Labor Code overtime provisions
   23            expressly ratified existing IWC exemptions, and because to
                 conclude otherwise would work an implied repeal of a long-
   24            standing wage order provisions, the Collins court rejected the
                 drivers’ argument that they were entitled to statutory overtime
   25            notwithstanding the motor carrier exemption.
   26   Id. at 748. The Ward court went on to explain that Labor Code section 226—“in
   27   contrast to” the overtime provision set forth in Labor Code section 510—“both
   28   predated the wage statement requirements of the wage orders and has long
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    1   exceeded them in its substantive and remedial scope.” Id. In conclusion, the Ward
    2   court ruled that, “[u]nlike the statutory overtime provision at issue in the Collins
    3   decision”—section 510, the same provision at issue here—“section 226 contains no
    4   indication that the Legislature intended to embrace all of the IWC exemptions
    5   wholesale; on the contrary, section 226’s incorporation of certain IWC exemptions
    6   (but not others) suggests a different approach.” Id.
    7         Solis relies on a statement in Ward that “by its terms, the wage order
    8   exemption applies only to the requirements of ‘this order’ (Wage Order No. 9,
    9   § 1(E)).” (Opp. at 10.) While this is so, it is only the beginning of the Court’s
   10   inquiry. Ward, 9 Cal. 5th 744. Ultimately, the Ward court held that United was not
   11   exempted from Labor Code section 226 by the exemption in Wage Order 9 (1)(E)
   12   because of the “history of wage statement regulation.” Id. at 748. And critically,
   13   the Ward court approved the reasoning and the holding in Collins. Indeed, the
   14   California Supreme Court walked through the Collins court’s analysis of Labor
   15   Code section 510, and found that “the statutory and regulatory context was
   16   meaningfully different” than that of Labor Code section 226, and therefore, the
   17   court’s reasoning in Collins that Section (1)(E) of the wage order also exempted
   18   RLA employers from the overtime obligations of section 510 did not carry over.
   19         Here, however, the analysis in Collins is directly on point—as the Ninth
   20   Circuit recently affirmed in Angeles v. US Airways, Inc., 790 Fed. Appx. 878, 880
   21   (9th Cir. 2020). In Angeles, “the district court concluded that the Railway Labor
   22   Act exemption excuses US Airways from complying with Section 510’s overtime
   23   requirements.” Id. at 879 As the Ninth Circuit unequivocally stated: “We agree.”
   24   Id. The Ninth Circuit explained:
   25             In 1999 the California Labor Code added overtime
                  requirements but expressly authorized the IWC to “review,
   26             retain, or eliminate an exemption . . . contained in a valid wage
                  order in effect in 1997.” Cal. Lab. Code § 515(b). The RLA
   27             exemption is such an exemption because it was adopted in 1976
                  and has been retained in all subsequent versions of Wage Order
   28             9, including the version in effect in 1997. Therefore, the IWC
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    1              did not act in direct contravention of the Labor Code by
                   retaining the RLA exemption—rather, it was a preexisting
    2              exemption that the Legislature acknowledged and incorporated
                   into the statutory scheme through Section 515(b). See Collins,
    3              105 Cal. App. 4th at 172 (holding that Labor Code Section
                   515(b) “express[es] a legislative intent to leave undisturbed the
    4              exemptions from ‘provisions regulating hours of work . . .
                   contained in any valid wage order in effect in 1997.’”
    5              (alteration in original)). Accordingly, the RLA exemption
                   excuses US Airways from both Wage Order 9’s overtime
    6              requirements and Section 510’s overtime requirements.
    7   Id. at 880 (emphasis added). Contrary to Solis’s assertion that Ward “in effect,
    8   overruled” Angeles, the Ward court’s analysis is spot on consistent with the holding
    9   in Angeles. Solis’s assertion to the contrary is misleading and plainly wrong. The
   10   Ward court’s analysis and approval of Collins only highlights why the ruling in
   11   Ward as it relates to Labor Code section 226 is entirely inapplicable to Labor Code
   12   section 510.1
   13         Accordingly, and even assuming all facts alleged by Solis are true, Solis’s
   14   claim for overtime compensation under California Labor Code section 510 and
   15   Wage Order 9 after December 1, 2015 is legally deficient and judgement should be
   16   granted in favor of American on this issue.
   17         D.      Solis Concedes That She Is Exempt From The Overtime
                      Provisions Of The FLSA.
   18
   19         In her opposition, Solis does not even attempt to argue that she is covered by
   20   the FLSA’s overtime provisions, nor can she: “the FLSA overtime provisions do
   21   not apply to Plaintiff because [s]he work[s] for an air carrier.” Kouchi v. American
   22   Airlines, Inc., No. CV 18-7802 PSG (AGRx), 2019 WL 3059409, at *2 (C.D. Cal.
   23   Apr. 9, 2019) (citing 29 U.S.C. § 213(b)(3) (providing that the FLSA overtime
   24   provisions “shall not apply with respect to . . . any employee of a carrier by air
   25   subject to the provisions of Title II of the Railway Labor Act”)). Solis’s only
   26
        1
   27    Solis argues for a number of pages that her Labor Code section 510 claim is not
        “preempted” by the RLA and may not be “waived” by agreement. (Opp. at 18-23.)
   28   But American did not argue either point; American’s argument centers on Wage
        Order 9(1)(E) and Labor Code section 515(b), not RLA preemption or waiver.
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    1   argument with respect to her FLSA claim is that, in addition to alleging that she is
    2   entitled to overtime compensation under the FLSA, she also alleges that she is
    3   entitled to minimum wages under the FLSA. (Opp. at 24.) As discussed above,
    4   however, Solis may not avoid dismissal of her FLSA claim for overtime—which
    5   fails as a matter of law—by incorporating in the same cause of action a FLSA
    6   minimum wage claim. In re Outlaw Lab’y, 2020 WL 3840559, at *4. Because
    7   America is “a carrier by air subject to the provisions of Title II of the Railway
    8   Labor Act,” American is entitled to judgment as to Plaintiff’s claim for overtime
    9   compensation under the FLSA. (See RJN, Ex. A, at 2.)
   10   III.   CONCLUSION
   11          For the reasons discussed above and in American’s motion, the Court should
   12   grant judgment as a matter of law against Solis on her Fifth Claim for Failure to
   13   Maintain Accurate Payroll Time Records; Sixth Claim for Failure to Pay Overtime
   14   and Minimum Wages under California Labor Code §§ 510, 1194, and 1197 and
   15   Wage Order 9 to the extent Plaintiff seeks to recover damages after December 1,
   16   2015; and Ninth Cause of Action for overtime compensation pursuant to the FLSA.
   17
               Dated: July 16, 2021                O’MELVENY & MYERS LLP
   18                                              MICHAEL G. MCGUINNESS
                                                   KELLY S. WOOD
   19                                              ALLAN W. GUSTIN
   20
   21                                              By:    /s/ Michael G. McGuinness
                                                         Michael G. McGuinness
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   23                                              AMERICAN AIRLINES, INC.
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                                                            REPLY ISO MTN FOR JUDGMENT ON THE
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